             COLLECTIVE
              EXHIBIT A




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 1 of 54 PageID #: 8
                       *„.




                                                   State of Tennessee
                                                  Department of State
                                                  Division of Business Sevices
                                                   VYm. R. Snodgrass Tower
                                              312 Rosa L. Parks Avenue. 6th Floor
                                                  Nashville : Tennessee 37243



                                                             llif.St 2 0 1 2             70111570000340501287
                                                                   Date                                Certified Number
     File No:           12-0.7-203
     Company,           SUN HEALTHCARE GROUP, INC

     Name

     AgentiPOE•        REG AGENT CSC OF LEA COUNT, INC

     Address .          1819 N. TURNER ST., SUITE G
                        HOBBS, NM 88240

       Country:

            RE : ARCHIE COOK, JR., INDIVIDUALLY AND ON BEHALF OF THE WRONGFUL
                      DEATH BENEFICIARIES OF SHIRLEY I COOK


            VS: SUN HEALIHCARE GROUP, INC, SUNDRIDGE HEALTHCARE, LLC,
                  SUNBRIDGE OF HARRIMAN, LLC, D/B/A RENIASSANCE TERRACE CARE
                  AND REHABILIATATION CENTER

                                                            Notice of Service
            The enclosed summons and attachments are hereby officially served upon you by the Office of the Tennessee
         Secretary of State pursuant to Tennessee Law. Please refer to the summons and attachments for details concern-
         ing the lawsuit filed against you. If you have any questions, please contact the cleric of the court which issued the
         summons. You can obtain the courts telephone number by calling information (area code) 555-1212. The name of
         the court and county where the court is located will be on the attached summons.

             The summons will either tell you a court date and time at which you must appear to defend yourseif or tell you
         the number of days from the day you are served within which you must file an answer upon the plaintiffs attorney.
         Failure to appear in court at the time specified or failure to answer the summons within the given time could result in
         a judgement by default being rendered against you for relief sought in the lawsuit,


             The Secretary of State's Office cannot give you legal advice. If you need legal a vice, please consult a private
         attorney .



                                                                                          Sincerely,




                      enclosures                                                          Tre Hargett
                  Initial: r AC                                                           Secretary of State
                      CC:


                      SS-4214 (Rev. 3/97)                                                                       RDA 1003
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 2 of 54 PageID #: 9
STATE OF TENNESSEE
COUNTY OF ROANE

     1, KIM NELSON, General Sessions Court Clerk for Roane County, do
hereby certify that the within is an true and perfect cou of the civil
warrant issued for the defendant c..2)10/1 Dalignue,34_040
Through the Secretary of State for the S ate of Tennessee, ii the case of:

                                    Caog/
                                       VS




                        Case Number         4:2e)-(4,03
Filed in this office on the            0      day of          CIII0J-47'(-                   ,   201a.

                                                    NELSON, 'lerk

                                       B                  (    2 I
                                                              :( Q                  D.C.




          Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 3 of 54 PageID #: 10
               1N TI1E CIRCUIT (ThiRT OF ROANE COUNTY, TENNESSEE

      ,ARCIIIE COOK, JR., Individually and
      On Behalf of the Wromtful Death Beneficiaries
      Of SHIRLEY 1. COOK,

             Plaintiff,                                            Case No /=.9           lt 0 03
                     VS.                                           Division

      SliN HEALTIICARE CROIJP, INC,                                JURY DEMANDED
      St !NMI DG HEMMICARE, LLC
      SUNBRIDGE OF HARRIMAN, LLC, d/b/a
      RENIASSANCE 'TERRACE CARE AND
      REHABIIAATION CENTER

             Defendan(s.

                                             SUMMONS

      To:    Dekndant: Sun Healthcare Croup, Inc. can be served through its registered
      agent: CSC of Lea County, Inc., 1819 N. Turner St., Suite G, Hobbs, NM 88240.

               You are hereby Summoned and required to serve upon Jacob C. Parker, Plaintiff's
      attorney, whose address is P.O. Box. 21941, Chattanooga, Tennessee 37424-0941, an
      answer to the Complaint for Damages herewith served upon you within thirty (30) days
      iiftcr service of this Summons and Complaint for Damages upon you, exclusive of the
      day of service. II you fail to do so, judgment by default can be taken against you for the
      relief demanded in the Complaint for Damages.

             Issued and tested this       day of                              ,   2012.




             Deputy Clerk




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 4 of 54 PageID #: 11
                                                NOTICE

             To:       Defendant

              Tennessee law provides a Four Thousand Dollar (l;4,000) personal j -troperty
      exemption from execution or seizure to satisfy a judgment. fin judgment should he
      entered against you in this action mid v011Sh 1() claiin propertyas exempt, you must file
      a written list, wider oath, ot the items you wish to claim as exempt with the clerk of the
      court. Tile list may be filed at any tnne and may be changed by you thereafter as
      necessary; however, unless it is filed before the judgment becomes final, it will not he
      ettiNtivc as to any execution or garnishment issued prior to the filing of the list. Ccrmin
      items are automatically exempt by law and do not need to he listed; these include items of
      necessary wearing apparel for yourself' and your family and trunks or other receptacles
      necessary to contain such apparel, family portraits, the family Bible, and school books.
      Should any of these items he seized, you would have the right to recover them. If you do
      not understand your exemption right or how to exercise it, you may wish to seek the
      counsel ()la lawyer.



                                    SERVICE INFORMATION

             To:    Defendant: Sun Healthcare Group, Inc. can be served through its
      registered agent: CSC of Lea County, Inc., 1819 N. Turner St., Suite G, Hobbs, NM
      88240.
                                         RETURN

             I received this summons on the            day of                    , 2012.

             I hereby certify and return that on the            day of                 , 2012,1

             [ ] served this Summons and Complaint for Damages on Defendant,
                                                        , in the following manner:




             [ ] failed to serve this Summons within thirty (30) days after its issuance because:




      Process Server




                                                   2

Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 5 of 54 PageID #: 12
                                                    State of fennece
                                                   Department of State
                                                    Division ct Business : 1;ervices
                                                     VVir 12 S1o, 1 , 1),- 1",ti Tovvnr
                                                312 WSH I     R1Ikti Avenue, lith Floor

                                                    Nashville, Ferincsec 31243



                                                              1   1/16/2012                70111570000340501270
                                                                     Date                               Certified Number
       File No .         t 2 Cy     2.03

       Company:          SUNBRIDGE HEALTHCARE, LLC

       Name:

      Agent/POE: REG AGENT CSC OF LEA COUNT, INC

       Address:          1819 N. TURNER ST., SUITE G
                         HOBBS, NM 88240

        Country:

             RE:      ARCHIE COOK, JR., INDIVIDUALLY AND ON BEHALF OF THE WRONGFUL
                      DEATH BENEFICIARIES OF SHIRLEY I COOK


            VS:       SUN HEALTHCARE GROUP, INC, SUNDRIDGE HEALTHCARE, LLC,
                      SUNBRIDGE OF HARRIMAN, LLC, D/B/A RENIASSANCE TERRACE CARE •
                      AND REIIABILIATATION CENTER

                                                                  Notice of Service
             The enclosed summons and attachments are hereby officially served upon you by the Office of the Tennessee
          Secretary of State pursuant to Tennessee Law Please refer to the summons and attachments for details concern-
          ing the lawsuit filed against you. If you have any questicns, please contact the clerk of the court which issued the
          summons. You can cbtain the court's telephone number by calling information (area code) 555-1212. The name of
          the court and county where the court is located will be cn the attached summons.

              The summons will either tell you a court date and time at which you must appear to defend yourself or tell you
          the number of days from the day you are served within which you must file an answer upon the plaintiffs attomey.
          Failure to appear in court at the time specified or failure to answer the summons within the given time could result in
          a judgement by default being rendered against you for relief sought in the lawsuit.


              The Secretary of State's Office cannot give you legal advice. If you need legal advice, please consult a private
          attorney.
                                                                                           Sincerely,




                      enclosures                                                           Tre Hargett
                   Initial:   JAC                                                          Secretary of State
                     CC:


                     SS-4214 (Rev. 3/97)                                                                        RDA 1003
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 6 of 54 PageID #: 13
STATE OF TENNESSEE
COUNTY OF ROANE

     I, KIM NELSON, General Sessions Court Clerk for Roane County, do
hereby certify,that the within is atrue and perfec copy of the civil
                                        /
warTant issued for the defendant(
Through the Secretary of State for the Statedef Tennessee, in the case of.



                                      VS




Filed in this office on the                  day of

                                              KIM NELSON, Clerk
                                               40. .141   / 4,

                                       By•    adh                  .A.L.
                                                                   I
                                                                 AL.I               D.C.



          Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 7 of 54 PageID #: 14
                 IN 11111 ciRcurr cokiR.T OF RO\INI COIJiN IN, TENN vssEE

        •RA      COOK, JR.,
        On Behalf of the Wrongful Death Beneficiaries
        Of MI IR LEY I. COOK,

               Plaintiff,                                           Cuse No.             CV.7‘2'?03

                                                                    Division

       SUN HEALHICARE CROUP, IN(                                    JURY DEMANDED
       SUNBRIDCE HEM:FIR:ARE, II'
       SUNBRIDGE OF HARRIMAN, LIA d/b/a
       RENIASSANCE TERRACE CAW; AND
       REHABILIATIOiN (ENTER

              Defendants.

                                              SUMMONS

       To:    Defendant: Sunbridge I lealth care, LI,C, can be served through its registered
       agent: CSC of Lea County, Inc., IS l 9 N. Turner St., Suite G, Hobbs, NM 88240.

                You are hereby summoned and required to serve upon Jacob C. Parker, Plaintiffs
       attorney, whose address is P.O. Box. 21941, Chattanooga, Tennessee 37424 - 0941, an
       answer to the Complaint for Damages herewith served upon you within thirty (30) days
       after service of this Summons and Complaint For Damages upon you, exclusive of the
       day of service. If you fail to do so, judgment by default can be taken against you for the
       relief demanded in the Complaint for Damages.

              Issued and tested this   S   day of    C\                        , 2012.




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 8 of 54 PageID #: 15
                                                  NO tICI;

                         )ctendant

                             Liw piovid(H 1rl)ur Thousand I )011ar (54,000) personal property
        exemption froin kAccutimi Or seituR! to itislY a judgment. it i _judgment should be
        entered           you in this action zind you wish to claim property as exempt, you must file
        a written list. unchl - oath, of the items you wish to claim as exempt with the clerk oldie
        court. The list nmv he tiled at any lime and may he changed by you thereafter as
        necessary: however, unless it is tiled before thejudgment becomes final, it will not he
        effective as to any execution or garnishment issued prior to the tiling of the list. Certain
        items :UV automatically exempt by law and do not need to be listed; these include items of
        necessary wearing apparel for yourself and your family and trunks or other receptacles
        necessary to contain such apparel, family portraits, the family Bible, and school books.
        Should any of these items be seized, you would have the right to recover them. If you do
        [mt understand your exemption right or how to exercise it, you may wish to seek the
        counsel ola lawyer.


                                       SERVICE INFORMATION

                 0:   Defendant Sunbridge I kalthcare, LLC. can be served through its
        registered agent: CSC of Lea County, Inc., 1819 N. Turner St., Suite G, Hobbs, NM
        88240.
                                            RETURN

               I received this summons on the            day of                    , 2012.

               I hereby certify and return that on the            day of                  , 2012, I

               [ ] served this Summons and Complaint for Damages on Defendant,
                                                          , in the following manner:




              [ ] failed to serve this Summons within thirty (30) days after its issuance because:




       Process Server




                                                     2
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 9 of 54 PageID #: 16
                 IN THE CIRCUIT C0( RT OF ROANE COUNTY, FENNESSEE

        ARCHIE ( '00K, JR.. Individually and            )
        (hi Behalf of the Wrongful Death Beneficiaries )
        Of Si I I RI 1W I. ( OOK,                       )
                                                        )
                Plaintiff,                              )           Case No.
                                                            )



                      vs.                                   )       Division
                                                            )
        sEN HEALTHCARE (;ROUP, INC,                         )       JURY DEMANDED
        SUNBRIDGE IIEALHI(:ARE, LLC                         )
        SLINBRID(;E OF HARRIMAN, LLC, d/b/a                 )
        RENAISSANCE TERRACE CARE AND                        )
        REIIABILIATION CENTER                               )
                                                            )
              Defendants.                                   )

                                              SUMMONS

       To:    Defendant: Sunbridge of Harriman, LLC, d/b/a Renaissance Terrace Care
       & Rehabilitation Center can be served through its registered agent: Corporation
       Service Company, 2908 Poston Avenue, Nashville, Tennessee 37203.

               You are hereby summoned and required to serve upon Jacob C. Parker, Plaintiff's
       attorney, whose address is P.O. Box. 21941, Chattanooga, Tennessee 37424-0941, an
       answer to the Complaint for Damages herewith served upon you within thirty (30) days
       after service of this Summons and Complaint for Damages upon you, exclusive of the
       day of service. If you fail to do so, judgment by default can be taken against you for the
       relief demanded in the Complaint for Damages.

              Issued and tested this       day of   A,                         ,   20 I 2.




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 10 of 54 PageID #: 17
                 To:      OcRuilant


                  cnncssec 1,1%\ pro\ ikle1 -, a Foul!' 1li>uiuril 1)olliir ($1, 000 1 personal property
        exemption Iron] erieution           ,;cliure      sdlisfy a pidgMent. 11,1 judgment sholikl he
        entt:red against % , oii in tlui dc.tion an    \.o u wish 10 C1,11111 property as exempt, von must lile
        a written list, wide> oath, of the items You wish to claw] as exempt with the clerk ol the
        court. .1 he IHt may he I lied at din'    NHL    and Hwy be clwn ,,ed by von theredlier as
       necessary; lwwever, unless it is tiled before the judgment hecomes final, it will not he
       cflective aL to any execution t)i garnishment issued prior to the filing oldie list. Certain
        iteins arc dutomatically exempt by law and do not need to he listed; these include items of
       necessary wearing apparel tiff oursell and your lamily and trunks or other receptacles
       necessary to contain such apparel, tamily portraits, the lamily Nihle, and school hooks.
       Should any ol these items he sei/ed, you would have tho right to recover them. II you do
       not understand your exeniption right or how to exercise it, you may \\ 1 ,14 to Seek the
       counsel ola lawyer.



                                           SERVICE, INFORMATION

             To:    Dekndant Sunbridge Ilarriman, LLC, d/b/a Renaissance Terrace
       Care & Rehabilitation Center can be served through its registered agent:
       Corporation Service Company, 2908 Poston Avenue, Nashville, Tennessee 37203.

                                                        RETURN

                 received this summons on the                   day of                    , 2012.

                 hereby certify and return that on the                   day of                    , 2012, I

                [ j served this Summons and Complaint for Damages on Defendant,
                                                           , in the following manner:




                [ ] failed to serve this Summons within thirty (30) days after its issuance because:




       Process Server




                                                            2
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 11 of 54 PageID #: 18
                    IN THE CIRCUIT (...HIRT OF ROANE COUNTY, 'FENN ESSF,F;

        ARCHIE COOK, ilL, individually and              )
        On Behalf of (lie Wrongful Death Beneficiaries )
        Of SHIRLEY 1. ('OOK,                            )
                                                        )
              P lain ti ft,                             )               Case No.
                                                       )
                        vs.                            )                Division
                                                       )
        SUN HEALTIICARE GRO(.JP, INC,                  )                JURY DEMANDED
        SUNBRIDGE HEALTH( ARE, LLC                     )
        StiNBRID(E OF HARRIMAN, LLC, d/b/a             )
        RENIASSANCE "fERRAIIE, (ARE and                )
        REI(ABILINHON CENTER                           )
                                                               )


               Defendants.                                     )




                                      COMPLAINT FOR DAMAGES


               Plaintiff, Archie Cook, Jr., Individually and on behalf of the Wrongful Death
        Beneficiaries of Shirley I. Cook files his Complaint for Damages against Defendants,
        accompanying Affidavit of Compliance and Certificate of Good Faith, and for his cause
       of action states as follows:


                                I. INTRODUCTION & DEFINITIONS
               1.      All allegations in this Complaint are based upon information and belief
       except for those allegations that pertain to the Plaintiff, the persons, and Plaintiff's
       counsel. Plaintiff's information and belief are based upon, inter alia, the investigation
       conducted to date by Plaintiff and his counsel. Each allegation in this Complaint has
       either evidentiary support or is likely to have evidentiary support after a reasonable
       opportunity for further investigation and discovery.
              2.      The acts and omissions of the Sun Defendants as further defined and set
       out below are violations of the Tennessee Nursing Home Resident's Rights Act (Tenn.
       Code Ann. 68-11-101, et. seq.) and its implementing regulations (Nursing Home Rules
       and Regulations 1200-8-6, et. seq.), as well as the Tennessee Adult Protection Act (Tenn.
       Code An. 71-6-101, et seq.).




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 12 of 54 PageID #: 19
                3.      Plaintiff contends tht the violation ()lithe statmes and resillations set out
        in the i)receding parki,raph gives rise toi,eparate causes of action iigainst the
        Defendants. Moreover, the SIM I >eleinkink . violations ot such stat u t es .in t l regulations
        are evidence of ordinary negligence.
                4.      Whenever the term "I >efendant is used in this action, such term reftrs to
        and includes all named l)crendants in this la w s u it.
                S.      Whenever the tenn "( 'orporate I )efendants" is used in this action, such
        term refers to uid includes all named I k fendants even it their business entity tbrm is not
       a corporation, hut may also include the business entity form of a partnership, limited
       partnership, limited 1 iabil ity company or otherwise.
               6.       Whenever the terms "the facility or "the nursing home" are used in this
       action, such terms refer to and mean Sunbridge of I larriman, JJ,C d/b/a Renaissance
       Terrace Care and Rehabilitation (ionter (hcreinafter "Renaissance Terrace") located in
       Roane County, Tennessee at 257 Patton I.ane, I latTiman, Tennessee 37748.
               7.      Whenever it is alleged in this action that the Defendants or tile Corporate
       Defendants did any act or thing, it means that the officers, agents, Or employees of the
       designated corporation and/or business entity respectively performed, participated in, or
       failed to perform such acts or things while in the course and scope of their employment or
       agency relationships with the Defendants or the Corporate Defendants.


                                              H. PLAINTIFF
               8.      At all times relevant to this cause of action, Archie Cook, Jr., was an adult
       resident citizen of Roane County, Tennessee.
              9.       Shirley 1. Cook was a resident of Renaissance Terrace, a facility owned,
       operated and/or managed by the Sun Defendants, from February 8, 2009 through
       December 20, 2011, when she died.
               10.     At all times during her residency, Shirley I. Cook was unable to attend to
      her own affairs, disabled, and incompetent within the meaning of Tenn. Code Ann. 28-1-
       106. Accordingly, the foregoing savings statute has tolled the limitations period for
      Shirley 1. Cook's claims against these Defendants.



                                                       2
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 13 of 54 PageID #: 20
                            Archie        Jr. brings this action to recover damages for Ms. Cook's
        physic.11 p,gH and ...nitrei ing; mental anguish; di-;figurement; loss of dignity   nild

        Vit)iatii)11 H   her idit; under the Fenbc*-;cg Adult lhotection Act; violation of heY rights
        under the Tennessee Nursing Ionic Resident's Rights Act; reimbursement oHier medical
        expense.,        well as any other compensation and/or relief, including but not limited to,
        attorneys' fees to which Plaintiffs are entitled. Archie Cook, Jr. also brings this action on
        behalf of Shirley I. Cook's wrongfUl death beneficiaries to 1 - (!cover the kill value or the
        life oltheir mother, Shirley I. Cook, and fbr their individual losses of consul:61.1in.


                                              III. DEFENDANTS
                 12.       Defendant, Sun ffealtheare Group, Inc. is a foreign corporation that at
        times material to this lawsuit engaged in business in Tennessee. The causes of action
        made the basis of this suit arise out of such business conducted by said Defendant in the
       ownership, operation, management, and/or control of Renaissance Terrace. Sun
       Ifealthcare Group, Inc. may be served with process through its registered agent, CSC of
       Lea County, Inc., 1819 N. Turner St., Suite G, Hobbs, New Mexico 88240.
                13.       Defendant, Sunbriclge Healthcare, LLC is a foreign limited liability
       company that at times material to this lawsuit was engaged in business in Tennessee. The
       causes of action made the basis of this suit arise out of such business conducted by said
       Defendant in the ownership, operation, management, and/or control of Renaissance
       Terrace. Sunbridge Healthcare, LLC may be served with process through its registered
       agent, CSC of Lea County, Inc., 1819 N. Turner St., Suite G, Hobbs, New Mexico 88240.
                14.       Defendant, Sunbridge of Harriman, LLC d/b/a Sunbridge Terrace Care &
       Rehabilitation Center is a domestic limited liability company that at times material to this
       lawsuit was engaged in business in Tennessee and was the "licensee" authorized to
       operate the facility under the name of Sun Healthcare, Group, Inc. in Harriman, Roane
       County, Tennessee. The causes of action made the basis of this suit arise out of such
       business conducted by said Defendant in the ownership, operation, management, and/or
      control of Renaissance Terrace. Sunbridge of Harriman, LLC d/b/a Renaissance Terrace
      Care and Rehabilitation Center may be served with process through its registered agent,
      Corporation Service Company, 2908 Poston Avenue, Nashville, Tennessee 37748.



                                     3
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 14 of 54 PageID #: 21
                   15.     Defendants' contacts ,,vith ch   tte H I C1111(55Ci . Ih•m thc Hisis
         personal juri:Aiction in this c;tse. .fh , injui   fofinitt; the bas;ir; of this lawsuit \cre
         prOdUct    °Idle corporate an(l financial policies des6;ned, formulated, zind implemented fly
         1)efenklants.
                   16.     Venue for this action properly lies in Roane (ounty, Teniteeel)ecaw•;(-
        the actions and omissions lbrming the basis of' this suit NfosC in Roane County.
                   I 7. Plaintiff has complied with the notice provisions ofT.C.A. 29 -261          .n (a)
        as demonstrated by the simultaneously filed Affidavit of Compliance( Exhibit "A") and
        Certificate ot'Good Faith (Exhibit "13").
                   I S.   Plaintiff has complied with the notice provisions of T.C.A. 29-26-121(a)
        by lmving, mailed, certified mail return receipt requested, notice of the claim to the
        Defendants at both the addresses listed for the Defendants on the Tellnessec De -)artment
        oft lealth Website, and at the Defendants' current business address, all of which is
        evidenced by the attached Affidavit of Compliance and I I ximihits thereto. More
        specifically, notice was sent to the DeRmdants via certified mail, return receipt requested,
        with a certificate of mailing, on June 1, 2012.
                19.       Notice was provided pursuant to T.C.A. 29-26-121(a) within one year of
        the alleged malpractice or the discovery of alleged malpractice.
                20.       This Complaint is filed more than sixty (60) days after service of notice
       pursuant to T.C.A. 29-26-121(a).
                21.       This Complaint is tiled within one year and one hundred twenty (120)
       days of the alleged medical malpractice or the date of discovery of alleged medical
       malpractice.
                22.       This Complaint is timely filed.


                              IV. NATURE OF DEFENDANTS' LIABILITY
               23.        Alter Ego: Defendants, Sunbridge Healthcare, LLC and Sunbridge of
       Harriman, LLC d/b/a Renaissance Terrace Care and Rehabilitation Center were a mere
       conduit through which Defendant, Sun Healthcare Group, Inc., did business. The
       management and the operations of Sunbridge Healthcare, LLC and Sunbridge of
       Harriman, LLC d/b/a Renaissance Terrace Care and Rehabilitation Center were so



                                      4
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 15 of 54 PageID #: 22
        assimilatcd within the parent, Sun I lealthearc Group, Inc to ihe

                                             Himply          Ihrimw,h which he parent, Sun

         lealthcare         Inc. conducted its husiness. Moreor, Sun I Icaltheare Group,

        represented to the public       the aforementioned suhsidiaries       Were pail ()Ione sintde
        economic enterprise known as Sun lealthearc Group, hw Said parent corporation

        completely dominated :Ind controlled the business alThirs of its subsidiaries insomuch as

        the subsidiaries were mere tools ()ISHII I le:Ilthcare ;Owl), hie:.

                        Agency: In the alternative, it ill limes material to this suit, Defendants,
        Sunbridge I fealtlicare, 1.1,(: and Suuhridv,e of 1 larriman, 1,1,C dibh Renaissance Terrace
        Care and Rehabilitation Center acted as agents of Sun I lealthcare Group, Inc. As such,
        Defendant, Sun I lealthre Group, fnc. ratified or authorized the acts or omissions of
        Deft•ndants, Sunbridli,e 11ealthcare, 1,1,C and Sunbridge of I larriman, LLC d/h/a
        Renaissance Terrace Care and Rehabilitation Center.
               25.     Joint Enterprise: In the alternative, to the extent that the Defendants are
        found to be separate corporate entities and would not be liable for the acts of each other
        under theories that allow looking beyond the corporate fiction, each Defendant remains
        liable for the acts of the others because the Defendants operated their business as a joint
        enterprise. Defendants engaged in a joiut venture and acted in concert in the operation,
        management, and maintenance of Renaissance Terrace. These entities entered into an
        agreement with the common purpose of operating, managing, and maintaining
       Renaissance Terrace. These entities had an equal right to control their venture as a
       whole, as well as to control the operation and management of the subject facility.


                                                 V. FACTS
               26.    Upon information and belief, Shirley I. Cook was admitted as a resident to
       Renaissance Terrace on, February 8, 2009 where she remained until her death on
       December 20, 2011.
              27.     At the time of Ms. Cook's admission to Renaissance Terrace, the Sun
       Defendants represented that they were competent to provide Ms. Cook with the necessary
       custodial services, medical treatment and care she needed.




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 16 of 54 PageID #: 23
                  2.     On Or          November 20 2011, Ms. Cook was Aruck by a h“)(
                                                     .




         orr;thH hy on e of Defendants' euslodial e CIVL1        iC. 1,.ertilied nursing a istant).
         ..1.fie impact caused Ms. Cook to kill to the ground.
                         On or about November 20, 2011, Ms. Cook \va:i transferred to 1Wane
         Medical Center where she was diagnosed with a basilar neck fracture to her left hip and
        an additional fracture through the tip oilier greater trochanter. Following surgical repair
        of her fractures, Ms. Cook remained at Roane Medical Center until November 23, 2011
        when she was discharged back to the care of Renaissance Terrace.
                  30.    Ms. Cook remained at Renaissance Terrace until her death on December
        20, 2011.
                  31.    13y reason of the Defendants' ongoing neglect, Ms. Cook was allowed to
        suffer physical and emotional injuries, which included, but were not limited to, a
        fractured hip; pressure sores; weight loss; permanent disfigurement; and death.
                 32      As a result of these injuries, Ms. Cook required medical attention and her
        overall health deteriorated causing unnecessary physical suffering, mental anguish and
        death.
                 33.    The injuries described in this Complaint are a direct and proximate result
        of the acts or omissions set forth herein, singularly or in combination.


                                                  COUNT I
                                    INJURIES CAUSED BY DEFENDANTS'
                                         ORDINARY NEGLIGENCE

                 34.    This is a claim for ordinary negligence and does not involve a decision,
        act, or omission requiring knowledge of medical science or specialized training or skill.
        The acts or omissions complained of herein may be assessed by the trier of fact on the
        basis of common, everyday experiences. The acts or omissions complained of herein are
        intended to involve solely custodial neglect and not medical malpractice. See Estate of
       French v. Stratford House, 2011 Tenn. LEX1S 9 (January 26, 2011).
                 33.    Plaintiff re-alleges and incorporates the allegations in paragraphs 1-33 as
       if fully set forth herein.




                                       6
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 17 of 54 PageID #: 24
                             Defendants owed a duty to their                                t          ht
         prnvide cusiotlinl cwv, Ifciltiwt11 ;Ind          %vithin ttcccptcd :dandard.,;    111/4:1)


         ririisrrl Iaines.

                             Defendants owed a duty In their                               ()Ink. In hire,
        train, and supervise employees In delivcr custndial care and c'rvices to residents ut a saLe

        and beneficial manner.

                 36.     Deti.lulants breached the duties owed in their residents, including           hiirley

        Cook, and were negligent in their non-inedical, ordinary care and treatment of Shirley

        Cook by and throutt,h their acts and omissions, which were within the tuiderstanding (Iran
        ordinary lay person and did not require medical training, assessment or diagnosis,
        including but not limited to, the t011owing:
                A.       Failure In provide sufficient numbers of certified nursing assistants to
        ensure the nursing home met the custodial, non-medical needs of Ms. Cook, including but
        not Iiinited to, food, water, baths, showers, groounng, incontinent. care, personal attention
        and care to her skin, feet, nails, and oral hygiene;
                B.       Failure to administer the facility in such a manner as to provide the facility
        with adequate resources to ensure sufficient non-medical (C.N.A.) staffing and supplies,
       such as diapers, linens, and towels were available to care for all residents, including Ms.
       Cook;
                C.      Failure to provide sufficient numbers of non-licensed staff to follow Ms.
       Cook's care plans and to prevent Ms. Cook's needs from being ignored;
               D.       Failure to provide adequate supervision and oversight to non-licensed
       personnel to ensure that Ms. Cook received adequate and proper custodial care;
               E.       Failure to provide adequate overall custodial (non-medical) care;
               F.       Failure to provide adequate and appropriately trained non-licensed staff
       and supervision to such personnel as to ensure that Ms. Cook received adequate and
       proper custodial care, adequate hydration, and warm and palatable meals;
               G.       Failure to adopt adequate guidelines, policies and procedures for
       documenting, maintaining files, investigating and responding to concerns regarding the
       custodial, non-medical care of residents;




                                                       7
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 18 of 54 PageID #: 25
                  H.                   Hy the   inonbcr--; ni   thic ■ „ovcruing body ol the nursing home to
                      c their IkTal and lawhil obligation by:
                               (1) ensuring that the rules and regulations designed to protect the health
         ;Ind Actv           re:.;ideal: ,;, ,tich as Shirley Cook, as pmmulgated by the Tenilece
         Legislature .aal corresp(lnding regulations implemented exp:essly pursuant thereto by the
         fennossecI )cpartmcnt oil lcalth and its agents, including the l/ivision of Health Care
         Facilities,   kV   ere consistently complied with on an ongoing basis;
                              (2) ensuring that the resident care policies tin - the facility were
        consistently in compliance on :HI ongoina basis; and
                              (3) responsibly ensuring, that appropriate corrective measures were
        implemented to coirect problenls concerning inadequate resident care non-medical).
                 I.           Failure of non-medical personnel to maintain records in accordance with
        accepted standards and practices that are complete, accurately documented, readily
        accessible, and systematically organized with respect to Ms. Cook;
                              Failure to provide basic. and necessary non-medical care and supervision
        during Shirley Cook's residency;
                K.            Failure to protect Ms. Cook from abuse and neglect during her residency;
                L.            Failure to treat Ms. Cook with kindness and respect;
                M.            Failure of high managerial agents and corporate officers to adequately
        hire, train, supervise and retain the administrator and other staff so as to assure that Ms.
        Cook received care in accordance with Defendants' policies and procedures;
                N.           Making false, misleading, and deceptive representations to the quality of
       care, treatment and services provided by the facility to their residents, including Shirley
       Cook; and
                0.           Failure to provide adequate training, supervision and oversight to non-
       licensed personnel in the safe operation of non-medical equipment, including but not
        mited to, food carts.
               37.           Each of the acts or omissions set forth within this section operating
       singularly or in combination was a direct and proximate cause of the injuries, and
       damages described in this Complaint.




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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 19 of 54 PageID #: 26
                           ShirleyI   o)            v,cre the wsult o)1Perenolaillt, administrative

         dovisions, including short starring Refrii-,ttanee rcrrao     which affeett.d nfl re-identr;

         the nursing home, including Ms. Cook. Defendants' administrative decisions were intide

         for the henetit of all rer;idents at the facility ;Ind without Shirley (.onks peci fie cw . c

         treatment in mind.
                    39,    Defendants administrative decisions led to inadequate conditions tot

         Renaissance Terrace that caused the Tennessee Department of flealth and I Italian

        Services to cite the nursing home For numerous deliciencies. Defendants decisions to
        provide Renaissance Terrace with insufficient resources resulted in the facility being
        understaffed and undersupplied, which led to Shirley Cook's injuries,

                   40.    Additionally, at all times during Shirley Cook's residency ci Renaissance

        Terrace, she was a "resident" pursuant to T.C.A. 68-11-        ni el. Seq., - The Tennessee

        Nursing Home Residents Rights Act" ("TNHRRA"), and the corresponding regulations

        implemented expressly pursuant thereto) by the Tennessee Department of I fealth and its
        agents, including the Division of Ilealth Care Facilities, namely the Nursinv, Home Rules
        and Regulations 1200-8-6, et. seq. Accordingly, Shirley Cook is a member of the class
        that TNHRRA is intended to protect.
                   41.    As a-resident, Ms. Cook had the right:
                   A.     To receive assistance when needed in maintaining body hygiene;
                   B.     To have her family notified immediately about anything unusual involving
        her;
                   C.     To be free from willful abuse and neglect as those terms are defined by
        T.C.A. 71-6-102, and;
                   D.     To be treated with consideration, respect and full recogni ion of her full
        dignity.
                   42.    Shirley Cook was injured, as described herein, as a direct result of the acts
        or omissions of Corporate Defendants as set forth above, which constitute a violation of
       TNHRRA, as well as 42 CFR 483.10, et. seq., and the Nursing Home Regulations of the
       Teimessee Department of Health, Rules of the Tennessee Department of Health Board for
       Licensing Healthcare Facilities, Chapter 1200-8-6, et. seq, and are evidence of
       negligence. Violation of the foregoing federal and state regulations governing nursing



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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 20 of 54 PageID #: 27
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         type that        R      desirik'd to plc cut.
                                          hy reason oldie allq.t.ations :;ct forth within this section,
         Plaintit , ;ec! conipuir,At(4y dainav.,es ;Ind punitive dani;ws; l)et'endants in an

        amount to 1)e determined hv 1 jury„ plus costs and ;my other relief to which Plaintiff is
        entitled to recover hv



                                                   COUNT H
          DEFENDANTS' GROSS NEC LIC EN( T, NV I Lf.F1..1 I „ W21.NTON, RECKLESS,
                   MALICIOUS AND/OR INTENTIONAL CONDUCT


                44.     Phiintiti re -Aleges and incorporates by reference the allegations in
        Paragraphs I-43 as if !idly set forth herein.
                45,    'the longevity, scope, and severity of Defendants' failures and actions and
        their consciously indifferent actions with regard to the welfare and safety of helpless
        residents, such as Shirley Cook, constitute gross negligence, willful, wanton, reckless,
        malicious and/or intentional misconduct as such terms are understood in law.
                46.    Such conduct was undertaken by Defendants in conscious disregard of the
        health and safety consequences to those residents / patients, such as Ms. Cook, entrusted
        to their care. Moreover, such conduct evidences such little regard for their duties of care,
        good faith, and fidelity owed to Shirley Cook as to raise a reasonable belief that the acts
       and omissions set forth above are the result of conscious indifference to Shirley Cook's
       rights and welfare.
               47.     WHEREFORE, by reason thereof, Plaintiff also seeks punitive damages
       against Defendants in an amount to be determined by the jury, plus costs and any other
       relief to which Plaintiff is entitled by law.




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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 21 of 54 PageID #: 28
                                                  COUNT If l
            VIO!                THU; TENNESSEE                 I . MOTU:C . 110N At

                 48.     This is a claim for violation of the Tennessee Adult Protection Act,
         codified al T.C.A. 714401, et. seq.. which has arisen due to I kfendants' ordinary
         negligence and does not involve a decision, act, or omission based on medical science or
         specialized training or skill. The acts or omissions complained of herein may he as;essed
         by the trier 4 fact based on common, everyday experiences, The acts or omissions
         complained of herein involve mere custodial neglect and not medical malpractice.
        See ksiate of Frowh V. Stralfiffd House, 2011 Tenn. LIOCIS 9 (January 26, 2011).
                49.     At all times during her residency at the nursing home, Shirley Cook was
        an "incapacitated person" as defined by the Tennessee Adult Protection Act, T.C.A. 71-6-
        101, et seq.
                50.     Defendants were "caretakers" for Ms. Cook, as defined by TAPA, as they
        assumed responsibility for the care of Ms. Cook pursuant to contraet(s) or agreement(s).
                        Aceordin y, Ms. Cook was a member of the class that TAPA is intended
        to protect.
                52.    The following acts or omissions were committed by Defendants, none of
        which require any medical training, assessment or diagnosis and thus do not constitute
        medical malpractice, but which inflicted physical pain, injury, mental anguish, and/or
        constituted a deprivation of services that were necessary to maintain the health and
       welfare of Ms. Cook, thereby constituting "abuse and neglect" as defined by TAPA:
               A.      Defendants abused and neglected Shirley Cook as defined by TAPA
       during her residency;
               B.      Defendants failed to provide sufficient non-licensed personnel to provide
       basic custodial care (that is, care that does not require medical skill, training or expertise,
       and is within the understanding of an ordinary lay person):
               C.      Defendants deprived Shirley Cook of adequate sanitary, non-medical care;
               D.      Defendants created an unsafe and unsanitary environment for Ms. Cook;
               E.      Defendants inflicted physical pain, injury and mental anguish upon Ms.
       Cook; and



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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 22 of 54 PageID #: 29
                           Delen(kints dept iyed Ms. 'ook oldie no11-11li'diC,11 :;crvice necessary to
        nmintain her health and wellnre.
                             ccordlng v, thy injul ic. suffered by Ms. Cook are the type that TAPA is
        designed to prevent.
                    53.    A a di rect an d p res a thit e ciii ot the aforementioned, non-medical adfs

        and calk:-; ions oldie Defendants, Shirley Look suffered injuries, physical pain, mental
        suffering, disfigurement, and los; of enjoyment oflife. As a litrthe r direct and proximate
        cause of - Defendants' conduct, Shirley ( 'ook required medical attention, thereby incurring
        medical expenses. Violations of TAPA were a proximate cause of Shirley Cook's
        injuries.
                55.       Defendants acts constituted - abuse or neglect" as defined by TAPA, and
        caused damages to Ms. ( 'ook as heretofore described. Defendants' acts entitle Plaintiff to
        recover against Defendants both compensatory and ptmitive damages in an amount to be
        determined by the jury, attorney's fees pursuant to TAPA, plus costs and any other relief
        to which Plaintiff is entitled by law.
                56.       Plaintiff seeks compensatory and pun itive damages in an amount to be
        determined by a jury, plus costs, and any other relief to which Plaintiff is entitled to
        recover by law.
                                                   COUNT IV
        IN THE ALTERNATIVE, NEGLIGENCE UNDER THE TENNESSEE MEDICAL
                   MALPRACTICE ACT, T.C.A. 29-25-115, ET. SEQ.

                57.       To the extent Shirley Cook's injuries were caused by medical negligence
       (rather than ordinary negligence) involving a decision, act, or omission based on medical
       science or specialized training or skill, and which required medical training, assessment
       or diagnosis, Plaintiffs bring a claim for medical malpractice.
               58.        Plaintiffs hereby re-allege and incorporate the allegations of Paragraphs 1-
       31, and 45-47 as if fully set forth herein.
               59.        Defendants owed a duty to residents, including Shirley Cook, to render
       care and services as a reasonably prudent and similarly situated healthcare provider
       would render, including, but not limited to, rendering care and services in a safe and
       beneficial manner.


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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 23 of 54 PageID #: 30
                   60.            kfendants owed a duty to residents, inchiding Shirley (ook, to hire, h'j111
                                    11011)pluyCo) 1lLlt             ..mployees i!CrIverk.,d lIik1ILdiid

           ivict.".:   to residents in a ‘;;Iie ;uid beneficial   Mariner.

                   6I         I   )elendants owed a duty to assist all residents, including Shirley imik, in
        iittitniing Hid maintaining the highest level of physical, mental and psychosocial well


                             Defendants failed to meet the professional standard        orc;Ire   as described
        below alid violated their duty of care to Shirley Cook through mistreatment, abuse mid
        neglect. The medical negligence of Defendants includes, but is not limited to, the
        following acts and omissions requiring medical skill, training or expertise:
                             A.         Failure to conduct appropriate assessments to identify Shirley
        Cook's needs, including but not limited to: (i) Faihire to properly assess Ms. Cook's risk
        for developing skin breakdown and/or pressure sores                  ) Failure to properly assess Ms.
        Cook's risk for iil hag (iii) Failure to adequately monitor and assess Ms. Cook and
        recognize significant changes in her condition; and (iv) Failure to appropriately assess
        Ms. Cook's risk for untreated and unmanaged pain.
                             B.        Failure to deN;elop, maintain and implement an adequate care plan
       for Ms. Cook that addressed her needs.
                            C.         Failure to develop, maintain and implement adequate nursing care
       plans, including necessary revisions, based on Ms. Cook's needs, including, but not
       limited to, prevention of pressure sores, prevention of falls, and prevention of unmanaged
       pain.
                            D.         Failure to ensure that nursing personnel followed an adequate
       nursing care plan for Ms. Cook;
                            E.         Failure to revise and update appropriate care plans to meet Ms.
       Cook's needs;
                            F.         Failure to provide care, treatment, and medication to Ms. Cook in
       accordance with her physician's orders;
                            G.        Failure to properly and timely notify Ms. Cook's attending
       physician of significant changes in her condition;




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                                 bailwt. to timely nobly 1\1'; LL )1            olsirnilicant chane ,,
         in her condition;

                        1.      Eliture to maintain medical records repardin;.; Ms. Cook in
         accordance N.Nith accepted professima standards and practices tHt arc complete,
        accurate, readily accessible, and systemically orniied with iespect to: (i) Ms, Cook's
        diapnosis;      Ms. Cook's treatment; and (nit the onp,oinp. .sc'ssments and establishment
        olappropriate care pkirr; or treatment for Ms. Cook;
                                Failure to take reasonable steps to prevent, eliminate and correct
        deficiencies and problems in Ms. Cook's care;
                        K.      Failure to provide timely medical interventions to Ms. Cook,
        including but not limited to, use of Ul prevention devices;
                                Failure to provide proper supervision, assessment and treatment to
        Ms. Cook so as to prevent pressure sores, falls, fractures, and pain;
                       M.      Failure to provide the types and numbers of staff, including
        nursing personnel, to meet Ms. Cook's needs;
                       N.      Failure to provide adequate training to the nursing staff thereby
        failing to equip them to meet Ms. Cook's needs;
                       0.      Failure to provide adequate supervision to the nursing staff to
       ensure that they met Ms. Cook's needs;
                       P.      Failure to take appropriate measures to prevent Ms. Cook from
       developing avoidable infections;

                       Q.      Failure to take appropriate measures to prevent Ms. Cook from
       developing avoidable skin breakdown and pressure sores;
                      R.       Failure to provide Ms. Cook with a safe environment;
                      S.      Failure to provide prompt reporting and documentation of
       accidents and significant changes in Ms. Cook's condition;
                      T.      Failure to protect Ms. Cook from physical, mental and
       psychological harm;
                      U.      Failure to instruct and train staff concerning Ms. Cook's need for
       supervision and assistance to keep her safe from skin breakdown, pressure sores, falls,
      fractures, and other injuries;



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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 25 of 54 PageID #: 32
                             V.         Failure to timely lli ■ lr,1105(! and treat changes in Ms, (
           )11(111il)11, 111(111(1* l)111 1101   11111I1H k   51I1)   hreAdOwn,   p111' ■ '   sores, uninium
         ialls and      [(qui     and
                            W.         I ;dime to timely transfer Ms. Cook to an acute care hospital fOr
         assessment, inonitoring ;uid treatment of chamws in her physical and mental condition,
                  o;        A reasonably prudent he dthcare provider, operating wider the same or
        sinnlar conditions, would not have violated the protessional standard listed above. Filch
        oldie fOrego* acts of Iktendants' professional negligence was a proximate cause of
        Ms, rook's injuries. Ms. Cook's injuries were all fOreseenble to Defendants.
                  64,       Defendants' conduct in breacldng the duties owed to Ms. Cook was
        riegi igent, grossly negligent, willful, •anton malicious, reckless and/or intentional.
                 65.        As a direct and proximate result of such negligent, grossly negligent,
        willful, wanton, reckless, malicious, and/or intentional conduct, Plaintiffs assert a claim
        for judgment for all compensatory and punitive damages against Defendants including,
        but not limited to, medical expenses, pain and suffering, mental anguish, disability and
        humiliation in an amowit to be determined by the jury, plus costs and all other relief to
        which Plaintiff is entitled by law.
                                      COUNT V
          IN TI I,: ALTERNATIVE, NEGLIGENCE PURSUANT TO THE TENNESSEE
           HEALTH CARE LIABLITY ACT, TENN. CODE. ANN. 29-26-101, ET. SEQ.

                 66.       To the extend that this Court determines that Shirley Cook's injuries
       occurred after October 1, 2011, and are subject to Term. Code. Ann. 29-26-101, et. seq as
       amended, Plaintiff brings a claim for violation of Tenn. Code Ann. 29-26-101, et. seq. as
       amended October 1, 2011. Plaintiff contends, however, that Term. Code. Ann. 29-26-
        101, et. seq. is unconstitutional, as amended October 1, 2011, under the Constitutions of
       the State of Tennessee and the United States, and violates due process, the separation of
       powers doctrine, and the inherent authority of the courts to protect the integrity of the
       proceedings and the rights of the litigants. The assertion of a cause of action under this
       statute should not be deemed a waiver of Plaintiff's right to challenge the
       constitutionality of the statute.




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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 26 of 54 PageID #: 33
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         66 ;N 11 . 11111y    ‘( !Orli] herein.
                              Defendants are "health care providers within (he liftiuflieof ,ain. Code
         Ann. 2)-26-102, and owed a duty to Shirley Cook to piovide her healthc u- services in
         ti;lk   and benclicial manner,
                   60.        Defendants breached their ditties owed to Shirley Cook as previously set
         fOrth herein, t lic‘reby causing Ms. Cook to be injured as set forth a the Complaint.

                   70.        Defendants' conduct in breaching the duties owed to Shirley r ook \vas
        negligent, grossly nep,ligent, willful, wanton, malicious, reckless ;mdlor intentional.
                   71.        As a direct and proximate result of such negligent, grossly negligent,
        willful, wanton, malicious, reckless and/or intentional conduct, Shirley Cook was injured,
        for which Plaintiffs assert a claim fOr judgment fur all compensatory ;.mk.1 punitive
        damages against the Defendants, including, but not limited to, medical expenses, pain and
        suffering, mental anguish, disability, and humiliation in an irriount to be determined by
        the jury, plus costs and all other relief to which Plaintiffs are entitled.


                                                       COUNT VI
                                SURVIVAL AND WRONGFUL DEATH CLAIM
                  72.        Plaintiffs re-allege and incorporate by reference the allegations in
        paragraphs 1-71 as if fully set forth herein.
                  73.        As a direct and proximate result of the acts or omissions of Defendants as
        set forth above, Shirley Cook suffered mental anguish, pain and suffering, and physical
        injuries which include, but are not limited to those described herein, including death.
                  74.        As a further direct and proximate result of Defendants' conduct, Shirley
       Cook required medical attention and hospitalization, and incurred liability to pay
       reasonable and necessary charges for such.
                  75.        As a direct, natural and proximate result of the acts or omissions of
       Defendants as set forth above, Shirley Cook died on December 20, 2011, thereby
       incurring reasonable and necessary charges for funeral and related expenses.




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                                   direct aid      il L it   outi h )Ithe pi oviot ut   ii Ict I cimihict, all of
         which wd,a          out         Hvn,"Hcul, Will mud wanton, t,iiliuiiuio , to.;kle.....,s, malicious,

         ;nid/or intention     Shit ley Cook endured pain, uuIleiing Ind death. Indeed, Shirley Cook
         suffered pet :,onal Huffy includul cxeiticialiiqi, pain mid suffering, mental anguish,

         emotional ilkticss and humiliation, \vhich includes, hut is not limited to, that described
         hetein
                   /7. Additionally, as a dircia ;ind prox irnatc result of the previously allegu

        conduct, all of which was negligent, grossly negligent, will tint' wanton, outrageous,
         reckless, malicious, iind/or Mtentional, Shirley Cook's liunily has suffered more than the
        normal grief of losing the life of then - loved one, and accordingly seeks damages for loss
        of consortium, attention, guidance, care, protection, companionship, affection and love;

        Accordingly, Plaintif is entitled to recover against Defendants compensatory and
        punitive damages based on the foregoing.
                  78. Plaintiff seeks compensatory and punitive damages against Defendants in an

        amount to be determined by the jury, plus costs and any other relief to which Plaintiff's
        are entitled by law.
                                                     DAMAGES
                  79.    Plaintiffi re-allege and incorporate the allegations of paragraphs 1 78 as if  -




        fully set forth herein.
                  80.    As a direct and proximate result of the acts and omissions of the
        Defendants as set out above, Shirley Cook suffered injuries, including but not limited to,
        those described herein. As a result, Shirley Cook incurred significant medical expenses
        and suffered embarrassment, physical impairment, pain and suffering, mental anguish,
        and death.
                  81.    To the extent Tenn. Code Ann. 29-39-101, et. seq. is asserted by
       Defendants or deemed applicable to the present case or controversy, Plaintiffs
       affirmatively aver that these statutory provisions are unconstitutional.




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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 28 of 54 PageID #: 35
                     2.     flic Constitution ol ihe State of Telinesse.! .prw,.ides for:

                           (1)     Hight to Trial by Jury.
                                   1• 1 •   right of trial by jury shall remain inviolate
                                   Tenny:see Constitution, Ad. 1, Sec. 6.
                           (2)     Open (ourts.
                                   IA Ill courts sh a..
                                                    11 .)e
                                                        1 open; and every nuui, for an nijury done him
        in his lands, goods, person or reputation, shall have remedy by due Course of law, and
        right and justice administered without sale, denial or delay. Tenn. Constitution, Art. I
        Sec. 17.

                           (3)     Separation of Powers.
                                   The pow L!I . ; ofthe government shall be divided into three distinct
        deponimi6: legislative, L:xccutive and judicial. Tenn. Constitution, Art. 2, Sec. 2.
                83.       The Constitution of the United States provides for:
                           (1)    Right to Trial by Jury.
                                  In suits at common law, where the value in controversy shall
        exceed twenty dollars, the right of trial by jury shall be preserved, and no fact tried by a
       jury shall be otherwise re-examined in any Court of the United States, than according to
        the rules of the common law. United States Constitution, Amendment VII.
                          (2)     Due Process and Equal Protection.
                                  . ..No State shall make or enforce any law which shall abridge the
       privileges or immunities of the citizens of the United States; . . . without due process of
       law; nor deny to any person within its jurisdiction the equal protection of the laws ...
       United States Constitution, Amendment XIV.
               84.        Plaintiff asserts that Tenn. Code Ann. 29-39-101, et. seq., violates the
       Constitutions of the State of Tennessee and the United States by affecting the right to trial
       by jury, open courts, separation of powers, equal protection, and due process.


                                             TRIAL BY JURY REQUEST
               85.        Pursuant to the Tennessee Rules of Civil Procedure, Plaintiff demands a
       trial by jury as to all issues so triable.




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                    86.                                pr;i:,-; for judm;‘nt :wdinst     n,1:int%;



                    A.    For tb1111:1}',CS to he detennini:d hy the jury, in an .unount exceedii, the

        minimum jurisditional wnount of this ('ouri ;aid adequate to u!1il)euiate lainhlf for alt

        the injuries and damages sustained in ui dmonnt not to exceed Two Million Dollars
        ($2,000,)00.00);

                    B.    For all tcneia1 :nid special (huna;. ,..cs caused by Defendants' conduct;
                    C.    For the costs of litigating this case;
                    D.    For punitive damages sufficient to punish Defendants Cor their eoregions
        conduct and to deter Defendants and others from repeating such conduct;

                E.        For attorneys' Ices and costs pursuant to the Tennessee Adult Protection
        Act; and
                F.        For all other damages and other relief to which Plaintiff may be justly
        entitled.


                                                            Respectfully submitted,



                                                          Jacob C. Parker, TN BPR 023993

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                                                         Chattanooga, Tennessee 37424-0941
                                                         T: 423.240.5120
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                                                         T: 901.462.3353




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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 30 of 54 PageID #: 37
                                    CF.1(TIFIC kTEOFSH(VICV

                 hereby eel titY that a copy of the Foregoing has been scrved via U.S. Mail upon
        the Following individual on this ( - 1 . day ol November 2)17 with suiticient postage
        thereon to ensure (kdivery:

                                         Robert      C()oper, Jr.
                                     Teiniessee Attorney (ienerat
                                            Finh Avenue North
                                            P.(.). Box 20207
                                   Nashville, Tennessee 37202-0207




                                                            Attorney tor Plaintiti




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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 31 of 54 PageID #: 38
                               R(TIT   corwr oF       ROANE COUNTY, ENN[SSEE

         ARCHIE COOK, JR., Individually and
         On Behalf of the Wrongful Death lienelkiaries
         Of SIIIRITY I. COOK,

                                                                        Case No.

                        VS.                                           Division

        SUN I lEALTHCARE GROUP, INC,                                  JURY DEMANDED
        SUNIIRIDGE HEALTHCARE, LLC
        SUNI1R1DCE OF            LLC, d/b/a
        RENAISSANCE TERRACE CARE AND
        REHABILIATION CENTER

                Defendants.

                    AFFIDAVIT OF SERVICE WITH CERTIFICATE OF MAII,ING

                STATE OF TENNESSEE:
                COUNTY OF HAMILTON:

                In accordance with Tenn. Code Ann. 29 26 121, the undersigned attorney, having
                                                        -    -




        been duly sworn, states upon oath and affirmation as follows:
                1.     I am over the age of eighteen (18) and am licensed to practice law in the
        States of Tennessee (BPR No. 23993) and Georgia (BPR No. 141411).
               2.      I am one of the attorneys for the Plaintiffs in the above-captioned matter
        and have personal knowledge of the matters herein.
               3.      On June 1, 2012, I mailed, via Certified Mail Return Receipt Requested,
       Notice Letters in accordance with Term. Code Ann. 29-26-121, to the Defendants listed
        above. Each letter was mailed to the recipient's agent for service of process and current
        business address.
               4.      A copy of the Notice Letters, Certificates of Mailing issued by the United
       States Post Office on June 1, 2012, and Domestic Return Receipts are attached.
               5.      The Notice Letters referenced above were timely mailed and the attorney
       has complied with Term. Code Ann. 29-26-121.




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 32 of 54 PageID #: 39
                 141.11,4T1IUR THE APTI,ANT S.11       N()1'.




                                            Jacob C. Parlker




        STATE OF TENNESSEE
        COUNTY OF IIAN111JON

                lefore me personally appeared, Jacob C. Parker,     to me known to be ihe
        person described in and who executed the foregonpg instrument, and aeknowlek,ed th at
        he executed the same as his free act and deed.

               IN WITNFSS WI I 14<kOIT, I have hereunto set my hand and official seal this
           --day of November 2012.


                                             ELL
                                           Notary Public
                                           My Commission Expires:      ,3


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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 33 of 54 PageID #: 40
                                             The
                                             PARKER
                                                 FIRM
                                 CHARACTE • CON•PASSIOlt COMMIIMI N I




                                                 June I, 2012


                       VIA CERTIFIED MAIL RETURN RECEIPT REQUESTED



          vgun Healthcare Group, Inc.
            101 Sun Avenue NE
            Albuquerque, NM 87109

           Sun Healthcare Group, Inc.
           C/O CSC of Lea County, Inc.
           1819 N. Turner St., Ste G
           Hobbs, NM 88240

           Sunbridge Healthcare, LLC
           101 Sun Avenue NE
           Albuquerque, NM 87109

           Sunbridge Healthcare, LLC
           C/O CSC of Lea County, Inc.
           1819 N. Turner St., Ste G
           Hobbs, NM 88240

           Sunbridge of Harriman, LLC
           101 Sun Avenue NE
           Albuquerque, NM 87109

           Sunbridge of Harriman, LLC
           C/0 Corporation Service Company
           2908 Poston Avenue
           Nashville, Tennessee 37203-1312

           Sunbridge of Harriman, LLC
           d/b/a Renaissance Terrace Care and Rehab
           257 Patton Lane
           Harriman, TN 37748




1010 Market Street, Suhc 400 Chattanooga, Tem 37402 _ T: 42 40 5120 F: 866.473.9634 3/49,
 Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 34 of 54 PageID #: 41
          Re:    Notice   or Potential Claim Under T.C.A.1 1-M121W
                                                              , 4                   29.26 - 122
                 Patient/D013P . iN: Shirley I. Cook /       19 ;7 / II 3 .58-050.1
                 Claimant / Relationship to Patient: Archie Cook, .Jr. I Son aml Nc'd or Kin
                 Claimant Address: 16 ,I8 :Mountain View Rd, Rockwood, TN 3785 , l


         Dear Sir or Madam:

                   Be advised that the undeisigned and Mark CeP.er of Nahon, Saharovich a. nd Trotz,
                  lepresent Archie Cook, Jr., and the wrongful death beneficiaries of Shificy I.
         Cook. Accordingly, we are the iwthorized agents of - such claimants. Through counsel,
         eud clininants may assert a potential claim for medical negligence, :Ind other claims
         against various entities, individuals and healthcare providems, including the recipients of
         this letter. Shirley 1. Cook was a resident of a skilled nursing, fiacility known as
         Renaissance Terrace Care and Rehabilitation Center, located at 257 Patton Lane,
         Harriman, Tennessee, 37748 between February 8, 2009 and December 20, 2011.

                 It is believed that Shirley I. Cook was provided negligent care at Renaissance
         Terrace Care and Rehabilitation Center which caused her to suffbr physical injuries,
         including but not limited to, a fractured hip, weight loss, dehydration, mental anguish,
         and physical pain and suffering. In short, on November 20, 2011 while under the care
         and supervision of Renaissance Terrace Care and Rehabilitation Center, Ms. Cook fell
         and fractured her hip. On December 20, 2011, Ms. Cook died due to the injuries suffered
         at the nursing home. Ms. Cook's Death Certificate lists her fall at the nursing home on
         November 20, 2011 as a cause of her death.

                Attached as Exhibit "A" is a list of all healthcare providers to whom notice is
         being given pursuant to T.C.A. 29-26-121(a). Also attached as Exhibit "B" is a HIPAA
         compliant medical authorization permitting you to obtain complete medical records from
         each other provider identified in Exhibit "A." This HIPAA authorization does not
         waive the physician-patient privilege or permit ex parte communication with any
         healthcare provider.

               Please have your professional liability insurance carrier's representative, or other
         appropriate person, contact me. Thank you for your timely attention to these matters.

                                               Sincerely,




                                               Jacob C. Parker




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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 35 of 54 PageID #: 42
                                               EXHIBIT "A"

            LIST OF ALL fib:A.111 [CARE PROVIDERS '1 . 0 WIIOM NOTICE IS IWINC
                           (;I VEN PURSUANT TO T.C.A. 29-26-121(a)


          Re: Shirley Cook

                 Below is a list of all healthcare providers to whom notice is being given, pursuant
          to T.C.A. 29-26-121(a), of a potential claim:

          Sun Healthcare Group, Inc.                          Certified Mail Tracking No.
          101 Sun Avenue NE                                   7011 1570 0002 9109 0922
          Albuquerque, NM 87109

         Sun Healthcare Group, Inc.                           Certified Mail Tracking No.
         CIO CSC of Lea County, Inc.                          7011 1570 0002 9109 0939
         1819 N. Turner St., Ste G -
         Hobbs, NM 88240

         Sunbridge Healthcare, LLC                            Certified Mail Tracking No.
         101 Sun Avenue NE                                    7011 1570 0002 9109 0946
         Albuquerque, NM 87109

         Sunbridge Healthcare, LLC                            Certified Mail Tracking No.
         C/O CSC of Lea County, Inc.                          7011 1570 0002 9109 0953
         1819 N. Turner St., Ste 0
         Hobbs, NM 88240

         Sunbridge of Harriman, LLC                           Certified Mail Tracking No.
         101 Sun Avenue NE                                    7011 1570 0002 9109 0960
         Albuquerque, NM 87109

         Sunbridge of Harriman, LLC                          Certified Mail Tracking No.
         C/0 Corporation Service Company                     7011 1570 0002 9109 0977
         2908 Poston Avenue
         Nashville, Tennessee 37203-1312

         Sunbridge of Harriman, LLC                          Certified Mail Tracking No.
         d/b/a Renaissance Terrace Care and Rehab           -7011 1570 0002 9109 0984
         257 Patton Lane
         Harriman, TN 37748




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 36 of 54 PageID #: 43
                                                      "B"

                       HIPAA COMPLIANT MEDICAL AUTHORIZATION

                 A HIPAA Compliant Medical Authorization executed by Archie Cook, Jr. is
         attached as Exhibit "13."




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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 37 of 54 PageID #: 44
                             >                              NAHON SAffAROVICH                                              RO`l Z, P LC
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                                                                         •18a SCAII it MENDEN/1mi, • ,MEmpHImN :;t ii
                                                                       MIT:PHONE (O1)683.2751 - FACSIMILE (901)167.3350
                                                                        WWW.NSTLAW.COM • TOLL TREE I .8004.AV4001



                      A UMORIZATION TO DISCLOSE EMPLO YMEN A ND 11E11 LTI I N 1 1 0 RMATION
         ClicntiPatient Name: Shirley I. Cook                                              5.      The requested information may be disclosed physically
                                                                                                   and/or clecnonically in complionce with applicable IliPAA
         Diet: of Birth:                            08/30/1937                                     low nod used by Nohon, Sithorovich & 'Franz, PLC and The
                                                                                                   Parker Firm for the purposes of, including but not limited to:
         Social Security Number:                    XXX-XX-XXXX                                    Wing. evaluating and resolving my personal injury claim;
                                                                                                   filing and paying claims mode by federal and stole
         I.I authorize the use and disclosure of the bovc mimed                                   anbrogccsi filing ond paying chums made by subrogation
              individual's health and/or employment infonuntion                                   carriers and lien holders. information rised or disclosed
              described below to:                                                                 pursuant to this authorization may be subject to re.disclosrut
                                                                                                  to representatives of liable parties and insurers as well as
                 Nahon, Saharovich & Trotz, PLC                                                   health insursmce providers, Medicaid, Medicare and other
                 488 South Mendenhall Road                                                        medical payors or providers by the recipient, and no longer
                 hfemphis, 'TN 38117                                                              be protected.
                 (901)633.2751
                                                                                       6.         1 understand I hove the right to revoke this authorization at
                 and                                                                              any time. I understand if I revoke this authorization I must
                                                                                                 do s'o in writing and deliver my written revocation In person
                The Parker Finn                                                                  cr by certified mail to the managing attorney for Nahon,
                 1010 Market Street                                                              &Marovich & Trotz, PLC. I understand thc revocation will
                Sults 401                                                                        not apply to information that has already been released in
                Chattanooga, TN 37402                                                            response to this authorization. I understand the revocation
                (423)240-5120                                                                    will not apply to my insw-ance company when the law .
                                                                                                 provides my insurer with thc right to contest a claim under'
       2.      The following individual or organization is authorized to                         my poiicy. Unless otherwise revoked, this authorization will
               make the disclosure:                                                              expire twelve (12) months from the dale or its sigaiog,
                                                                                                 below. A photocopy of this signed authorization may be
                                                                                                 used in lieu of the origina I.

               Address:                                                               7.         I understand that authorizing the disclosure ofthis health and
                                                                                                 employment informetion is voluntary. I can refbse to sign
                                                                                                 this authorization, but such refusal may limit, prohibit or
                                                                                                 otherwise affect the ability of my attorneys in making,
                                                                                                 proving and paying any personal injury claims made on my
                                                                                                 behalf. I understand I may inspect or copy the information to
                                 d amount of information to bc used or disclosed                 be used or disclosed, as provided in CFR 164.524. I
                                      include dat ea where appropriate)                          understand that a facility may not condition treatment,
                                                                                                payment enrollment, or eligibility for benefits on whether or
                                                                                                not I sign this authorization. 1 understand any disclosure of
                                                                                                information can-ies with it the potential for art unauthorized
                       (date), 2-      - `4. -     to (date)_present   /7                       re-disclosure and the informatlon may not bs protected by
                                                                                                federal confidentiality rules. If I have questions or
              0 accompanying cost statements                                                    complaints about diseloswo of my health information, I can
                                                                                                contact Nahon, Saharovich & Trotz, PLC, Attention: Attorney
                                                                                                David W.14111, at (901) 683-2751.
                      (date)                     to (date) __present

             O        employment history records, lost wagc statement.

                                                                                                Signature of Cl i enrlPalient or Legal
             El other
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      4. I understand that the Information In my health record may
                                                                                            Date
            include Information relating to sexually transmitted disease,
            acquired immunodeficiency syndrome (AIDS), or human
           immunodeficiency virus (HTV). It may also include
                                                                                            If Signed by Legal Representative, ReIationhip to Patient
           information about behavloral or mental health services, and
           treatment Mr alcohol and drug abuse.
                                                                                            Signature                          of                    Witness



                             JACKSON TENNESSEE                 •       KNOXVILLE                  JACKSON, MISSISSIPPI              •    JONESBORO, ARKANSAS




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 38 of 54 PageID #: 45
U.S. POSTAL SERVICE     CERTIFICATE OF MAILING
MAY BE USED FOR DOMESTIC AND INTERNATIONAL MAIL, DOES NOT
PROVIDE FOR INSURANCE—POSTMASTER
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                  The Parker Firm
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PS Form 3817, Mar. 1989



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                                Chattanooga, TN 37424


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     PS Form        3817, April 2007 PSN 7530-02-000-9065




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 40 of 54 PageID #: 47
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From:
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 PS Form 3 81 7, April 2007 PSN 7530-02-000-9065




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                       PO, Box 21941
                    Chattanooga, TN 37424


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                           Chattanooga 'IN 37424


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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 44 of 54 PageID #: 51
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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 45 of 54 PageID #: 52
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                   Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 46 of 54 PageID #: 53
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          Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 47 of 54 PageID #: 54
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Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 48 of 54 PageID #: 55
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               Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 49 of 54 PageID #: 56
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                   Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 52 of 54 PageID #: 59
                 !VFW', 'IRCt II:COURT OF ROANE CotiNTy, FENNEssvi,

         ARcuit,               Individually and
         On Behalf of the \Vrongfnl Death Ikneficiaries      )



         Of SHIRLEY I. COOK,                                 )



                                                             )



               Plaintiff,                                    )
                                                                     Case No,

                       VS.                                           Division

         SUN IlEAIXIIC,ARE GROUP, INC,                               JURY DEMANDED
         SUNBRIDCE HEALTHCARE, TLC
         SUNBRIDGE OF HA RRINIAiN,                           )


         RENAISSANCE TERRACE (A.R.E :AND
         REHABILIATION (:ENTER

               Defewlants.

                            PLAINTIEPS CERTIFICATE OF GOOD FAITH

               In accordance with Tenn. Code Aim. 29-26-122,1 hereby state the f011owing:

                      The Plaintiff or Plaintiffs counsel have consulted with one (1) or more
                      experts who have provided a signed written statement confirming that
                      upon information 111(1 belief they:

                      A. Are competent under 29-26-115 to express op nions in this case; and

                      B. Believe, based upon the information available from the medical
                         records concerning the care and treatment of the Plaintiff for the
                         incidents at issue, that there is a good faith basis to maintain the action
                         consistent with the requirements of 29-26-115.



                                                      acob C. Paiker
                                                     TN BPR No. 023993




Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 53 of 54 PageID #: 60
              2,    I hay('HYi heen 101.111d in viOhliOu 0!   se1111. COde Ann. 20-26-




                                                  Jacob (:, Parker
                                                  TN 1.IPIZ No. 023)93

                                                 THE PARKER FIRM
                                                 P.O. Box 21941
                                                 Chattanooga, Tenne.c.c . 37424-0941

                                                 T: 423-240-5120
                                                 F: 866-473-9634




                                             2
Case 3:12-cv-00641-TWP-CCS Document 1-3 Filed 12/12/12 Page 54 of 54 PageID #: 61
